Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.41 Filed 03/24/23 Page 1 of 11




                      United States District Court
                      Eastern District of Michigan
                           Southern Division

United States of America,
                                              Case No: 23-20152
v.
                                              Hon. Mark A. Goldsmith
Jack Eugene Carpenter III,

               Defendant.
______________________________/

       United States’ Motion for a Competency Evaluation

     The United States of America, by and through its undersigned

counsel, requests that the Court commit the defendant to the custody of

the Attorney General for a psychiatric or psychological examination to

determine whether he is competent to stand trial. Based on the

defendant’s past conduct, including social media posts and his

statements during and filings in court proceedings, the government

believes that a competency evaluation is appropriate. The government

therefore moves the Court to order that a competency evaluation be

conducted, pursuant to 18 U.S.C. §§ 4241–4247, to determine if “there is

reasonable cause to believe that the defendant may presently be

suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature

                                     1
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.42 Filed 03/24/23 Page 2 of 11




and consequences of the proceedings against him or to assist properly in

his defense.” 18 U.S.C. § 4241(a).

                                     Facts

     On or about February 17 and 18, 2023, the defendant, Jack

Eugene Carpenter III, using his Twitter account, made a series of

Tweets culminating with a threat to kill Jewish members of the

Michigan government. Carpenter was in Texas at the time he made

these Tweets but stated that he was headed back to Michigan

imminently to carry out his threats. The most relevant Tweets included:

  • February 17, 2023, 14:36:391: “Within the next 48 hours I will be
    back in Michigan. Whether I have to sell more silver or whether
    my mother, who participated in these acts against me, sends
    money to get back there after confessing her role to me.”

  • February 17, 2023, 14:39:51: “Any Jewish person holding a public
    office on my land after that time is subject to immediate
    punishment for their participation in an unlawful war of
    aggression using a biological weapon against me. You may leave,
    confess and resign to live a private life or”

  • February 17, 2023, 14:42:59: “Be punished. I have deemed you
    guilty. Judgement has been given. I will not tolerate anymore
    games. I’ve given enough chances. Confessions will remain
    classified unless caught committing another crime. You have been
    warned. Heed my warning.”


1 Dates and times are in the same format as provided by Twitter,

pursuant to a federal search warrant, for consistency.
                                   2
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.43 Filed 03/24/23 Page 3 of 11




  • February 18, 2023, 03:00:34: @claushetting @DrTedros @POTUS
    @FBI @CIA @ODNIgov @ADL @Israel @masonicnetwork “I’m
    heading back to Michigan now threatening to carry out the
    punishment of death to anyone that is jewish in the Michigan govt
    if they don’t leave, or confess, and now that kind of a problem,
    because I can Legally do that, right?”

      Carpenter also threatened via Twitter to use “deadly force”

against law enforcement if they tried to pull him over on his way from

Texas.

  • February 15, 2023, 07:54:26: @MichStatePolice @WSheriff “I’ll be
    coming back to Michigan, still driving with expired plates. You
    may want to let everyone know, and Wayne County sheriff as well,
    any attempt to subdue me will be met with deadly force in self
    defense. I’ll test out that that whole no weapon”

  • February 15, 2023, 07:57:06: @MichStatePolice @WSheriff “Forged
    against me will prosper + I’m your boss + I’m immune from arrest
    thing. Polite notice I’m not playing games with people who tried to
    kill me, and steal from me.”

  • February 15, 2023, 08:03:17: @MichStatePolice @WSheriff “Moon
    magic people planning a hit to avoid court that I know monitor
    this account, fucking try me...”

     The FBI obtained an arrest warrant for Carpenter for violating 18

U.S.C. § 875(c) later on February 18 and arrested him that same day in

Texas. Agents in Texas searched Carpenter’s car pursuant to a federal

warrant and found, among other things, three pistols, four rifles

(including an M1A military-style rifle), a shotgun, and hundreds—if not


                                     3
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.44 Filed 03/24/23 Page 4 of 11




thousands—of rounds of ammunition.

      Officers spoke with Carpenter after his arrest. Carpenter

admitted to maintaining the Twitter account in question. When asked

what he meant about the aforementioned Tweets—specifically, being

back in Michigan in 48 hours and “threatening to carry out the

punishment of death to anyone that is jewish in the Michigan govt”—

Carpenter said that it is lawful to use deadly force in Michigan against

those who have committed a felony and are subject to arrest.

     Carpenter said that everything stemmed from the COVID-19

vaccine: that it was a crime to claim that the vaccine was safe or

effective and that everyone saying that the vaccine was safe and

effective committed a felony. Carpenter was fired from the University of

Michigan after refusing the vaccine, and went to the university’s police

department, the Washtenaw County Sherriff’s Office (WCSO), and the

Michigan State Police (MSP) to provide evidence against the vaccine.

When that did not work, he then spent eleven months in court trying to

file a complaint against the university. When that failed, Carpenter

claimed that he filed paperwork with the U.S. government, including

the Department of Justice and the President of the United States, and


                                     4
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.45 Filed 03/24/23 Page 5 of 11




then traveled to Texas because he was pushing the issue too hard in

Michigan. Carpenter said that he had reason to believe that the WCSO,

in coordination with MSP, was trying to “take [him] out” or

manufacture evidence against him.

      When asked why he was targeting Jewish members of the

government, Carpenter said that Israel is at war with the United States

and is using a biological weapon—the COVID vaccine. When asked if he

was talking about any specific Jewish members of the government,

Carpenter identified several individuals by name, including one high

ranking member of Michigan’s government. He then said that there was

no one specific that he was targeting, and that the Tweets were meant

to trigger behavior in other people who were trying to take him out.

     Carpenter then claimed that he broke his contract with the

Michigan state government, seized nine square miles of land, and

created his own sovereign government, The New Jerusalem, and placed

himself as head of that government. He said that he wrote the

President of the United States (and the Department of Justice) after

seizing this land and gave him an ultimatum, under the Geneva

Conventions, to cease enforcing the COVID mandates at the University


                                     5
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.46 Filed 03/24/23 Page 6 of 11




of Michigan. Because the President refused, Carpenter claimed that the

nine square miles of land ceded to him. In a “Declaration of

Sovereignty” that Carpenter posted on Twitter, he declared the

formation of a new State named “The Kingdom of Heaven,” and claimed

nine square miles of land as “New Jerusalem.” He named himself the

sovereign, or “King of Israel.”

     Carpenter’s statements to officers and his claims in the

Declaration of Sovereignty are also consistent with many other Tweets

he’s posted about the Jewish origins of the COVID vaccine, plots to kill

him, Satan, magic, and witches (several of these posts are associated

with videos of Tarot card reading). The government can provide a

sample of the defendant’s Tweets to the Court if helpful.

     Finally, Carpenter maintains that he created his own government

and that the United States District Court for the Eastern District of

Michigan does not have jurisdiction over him. [See 23-mj-30076, ECF.

No. 14, PageID.29].




                                     6
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.47 Filed 03/24/23 Page 7 of 11




                                   Law

     A defendant’s competence to stand trial depends on “whether he

has sufficient present ability to consult with his lawyer with a

reasonable degree of rational understanding—and whether he has a

rational as well as factual understanding of the proceedings against

him.” Dusky v. United States, 362 U.S. 402, 402 (1960) (per curiam).

     The defendant, the attorney for the government, or the Court may

make a motion to determine a defendant’s competency at any time after

commencement of prosecution and prior to sentencing. 18 U.S.C. §

4241(a). And attorneys have a professional duty to move for a

competency evaluation if they have a “good faith doubt as to the

defendant’s competence.” United States v. Jackson, 179 F. App’x 921,

933 (6th Cir. 2006) (unpublished).

     District Courts must grant a competency motion “if there is

reasonable cause to believe that the defendant may presently be

suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in

his defense.” 18 U.S.C. § 4241(a). As the Sixth Circuit has explained,


                                     7
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.48 Filed 03/24/23 Page 8 of 11




“once a motion is made pursuant to [§ 4241], unless the motion is

frivolous or is not made in good faith, the district judge must appoint a

psychiatrist to examine the accused.” Jackson, 179 F. App’x at 933

(quoting United States v. Walker, 301 F.2d 211, 214 (6th Cir. 1962)); see

also United States v. White, 887 F.2d 705, 709 (6th Cir. 1989) (“the

district court has not only the prerogative, but the duty, to inquire into

a defendant’s competency whenever there is ‘reasonable cause to

believe’ that the defendant is incompetent to stand trial.”). This makes

sense, because the “failure to order a hearing when the evidence raises

a sufficient doubt as to a defendant’s competence to stand trial deprives

a defendant of due process of law.” White, 887 F.2d at 709 (citing, e.g.,

Pate v. Robinson, 383 U.S. 375, 385 (1966)).

                                Argument

     Undersigned attorneys for the United States have a “good faith

doubt” as to Carpenter’s competence. Many of his statements on Twitter

(which can be provided to the Court upon request) appear to be

connected to Tarot card reading and suggest that Carpenter may

believe, for example, that Zionist Jews—synagogues of Satan, in his

words—are behind COVID, which he described as a genocide; that


                                     8
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.49 Filed 03/24/23 Page 9 of 11




MOSSAD unleased COVID/the COVID vaccine in a war of aggression;

that the CIA, at various times, “assigned” him a girlfriend, drugged her,

and offered her a promotion to marry a fake or copycat Carpenter; and

that there is a Jewish and Michigan State Police plot to kill him.

     Carpenter’s creation of a new state—New Jerusalem—and

declaration that he would be its sovereign, the King of Israel, seem

disconnected from reality. Even after he was arrested, Carpenter

maintains that federal courts do not have jurisdiction over him because

of his sovereign status.

     Finally, in an interview with officers, Carpenter’s mother stated

that there is a history of mental illness in Carpenter’s family. His

grandmother was a paranoid schizophrenic, and Carpenter’s mother

believes that he is exhibiting the same symptoms. According to the

National Institute of Mental Health, “Schizophrenia sometimes runs in

families.” https://www.nimh.nih.gov/health/topics/schizophrenia.

                               Conclusion

     For these reasons, the government respectfully requests that the

Court order that Carpenter be placed in the custody of the Attorney

General to undergo a psychiatric or psychological examination to


                                     9
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.50 Filed 03/24/23 Page 10 of 11




determine his competency to stand trial. An examination conducted by

the Bureau of Prisons is appropriate because it offers the opportunity

for an extended period of observation and testing.

      Pursuant to the local rules, the government sought but did not

receive concurrence in this motion.


                                   Respectfully,

                                   DAWN N. ISON
                                   United States Attorney


                                   s/ Hank Moon
                                   Hank Moon
                                   Assistant United States Attorney


                                   s/ Frances Carlson
                                   Frances Carlson
                                   Assistant United States Attorney


Date: March 24, 2023




                                      10
Case 2:23-cr-20152-MAG-EAS ECF No. 20, PageID.51 Filed 03/24/23 Page 11 of 11




                     CERTIFICATE OF SERVICE

      I hereby certify that on March 24, 2023, I filed the foregoing

document on the ECF system, which will send notice J.P Nogues,

attorney for Jack Eugene Carpenter III.



                                   s/ Hank Moon
                                   Hank Moon
                                   Assistant United States Attorney
                                   211 W. Fort Street, Suite 2001
                                   Detroit, MI 48226
                                   Phone: (313) 226-0220
                                   E-Mail: hank.moon@usdoj.gov




                                     11
